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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT

MARTIN J. DONOVAN                                       :
                                                        :
        Plaintiff                                       :                 CIVIL ACTION NO.:
                                                        :                 3:12 CV00549 (VLB)
vs.                                                     :
                                                        :
YALE UNIVERSITY                                         :
                                                        :
Defendant                                               :                 APRIL 26, 2012

                          MOTION FOR EXTENSION OF TIME


        Defendant hereby moves, pursuant to Local Civil Rule 9(b) for a 30-day extension of

time, up to and including June 14, 2012 to file a response to plaintiff's complaint dated April 11,

2012. This extension is necessary because defense counsel was just retained and needs additional

time to investigate the factual and legal issues raised by the complaint. We anticipate that

Attorney Noonan will be on trial for most of May, 2012. Plaintiff's counsel has indicated that he

has no objection to the granting of this motion. This is the first such request for an extension of

time.


                                                        THE DEFENDANT
                                                        YALE UNIVERSITY


                                                  BY:___/s/ Patrick M. Noonan (#ct00189)
                                                     Patrick M. Noonan
                                                     Donahue, Durham & Noonan, P.C.
                                                     741 Boston Post Road
                                                     Guilford, CT 06437
                                                     (203) 458-9168


ORAL ARGUMENT IS NOT REQUESTED.
                            DONAHUE, DURHAM & NOONAN, P.C.
                               C ONCEPT P ARK  741 BOSTON POST ROAD
                                    G UILFORD , C ONNECTICUT 06437
                              TEL: (203) 458-9168  FAX: (203) 458-4424
                                           JURIS NO. 415438
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                                      CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing Appearance
was filed electronically and served by mail on anyone unable to accept electronic filing.
Notice of this filing will be sent by e-mail to all parties by operation of the court’s electronic
filing system or by mail to anyone unable to accept electronic filing as indicated on the Notice
of Electronic Filing. Parties may access this filing through the court’s CM/ECF System.


                                                      _______________/s/________________
                                                       Patrick M. Noonan




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